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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AMERICAN FOREIGN SERVICE
 ASSOCIATION, et al.,

        Plaintiffs,

 v.                                                   Civil Action No. 1:25-cv-00352-CJN

 PRESIDENT DONALD TRUMP, et al.,

        Defendants.


        DEFENDANTS’ SUPPLEMENTAL BRIEF UNDER MAY 30, 2025 ORDER
       Moving for dismissal of the amended complaint or, alternatively, for summary judgment

in the AFSA suit, while opposing the preliminary injunction motion in the PSCA suit (No. 25-cv-

469), Defendants have argued, inter alia, that Plaintiffs’ claims cannot be addressed by this Court,

or any District Court, but rather must be heard by other adjudicative bodies altogether. In

particular, claims focused on Federal employment or personal services contracts must first be

adjudicated by administrative bodies Congress established for such disputes, and any claims based

on grant agreements must be heard by the Court of Federal Claims.

       In Widakuswara v. Lake, No. 25-5144 (D.C. Cir.), orders last month by a divided motions

panel, as modified by the en banc Court of Appeals, denied the Government a stay pending appeal

centered on arguments about grants by the U.S. Agency for Global Media (USAGM), while

maintaining a stay pending appeal centered on arguments about federal employee and personal

services contractor claims against that agency. Here, as explained below, that interim appellate

disposition reinforces the Government’s contentions in the AFSA and PSCA suits as to federal

employee and personal services contractor claims, while leaving unchanged the Government’s

arguments as to grants, which there is no occasion for reaching here because no Plaintiff is a

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USAID grantee, and which in any event are supported by ample precedent. (Defendants are filing

this supplemental brief in both the AFSA and PSCA actions.)

                                       BACKGROUND

       The International Broadcasting Act (“IBA”) of 1994 tasks USAGM with overseeing

multiple federally-funded broadcasting networks, including Voice of America (VOA), Radio Free

Asia (RFA), and the Middle East Broadcasting Network (MBN). 22 U.S.C. §§ 6201(3), 6202(c),

6204, 6208. The IBA authorizes USAGM to “make and supervise grants and cooperative

agreements for broadcasting and related activities” and “allocate funds appropriated for

international broadcasting activities among the various elements of [USAGM] and grantees,

subject to reprogramming notification requirements in law for the reallocation of funds.” 22

U.S.C. §§ 6204(a)(5), (a)(6). Congress provided that appropriated funds should be “allocated” per

a table specifying amounts to be allocated to particular entities, including RFA and MBN. 1

       Executive Order 14238 of March 14, 2025, titled “Continuing the Reduction of the Federal

Bureaucracy,” provided that “the non-statutory components and functions of” USAGM “shall be

eliminated to the maximum extent consistent with applicable law.” 90 Fed. Reg. 13043, 13043

(published Mar. 20, 2025). USAGM acting leadership implemented that directive from March 15,

2025 onward, by placing employees on administrative leave, terminating contracts with personal

service contractors (“PSCs”), and terminating grants with affiliate networks. Widakuswara v.

Lake, No. 25-cv-1015, 2025 WL 1166400, at *3 (D.D.C. Apr. 22, 2025). 2


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        Further Consolidated Appropriations Act 2024 (“FCAA”), Pub. L. 118-47, 138 Stat. 460,
735; see Continuing Appropriations Act, 2025, Pub. Law No. 118-83, 138 Stat. 1524 (2024);
American Relief Act, 2025, Pub. Law No. 118-158, 138 Stat. 1722 (2024); Congress’s Full-Year
Continuing Appropriations and Extensions Act, 2025, H.R. 1968, 119th Cong. § 1101(a) (2025).
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        Multiple sets of plaintiffs challenged those decisions in four cases. In Widakuswara v.
Lake, No. 25-cv-1015, 2025 WL 1166400 (D.D.C. Apr. 22, 2025), plaintiffs include VOA
employees and various employee unions. In Abramowitz v. Lake, No. 25-cv-887, 2025 WL
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       The District Court granted a PI in Widakuswara. Provision 1 of that PI, concerning

employees and personal services contractors, directed USAGM in pertinent part to “take all

necessary steps to return USAGM employees and contractors to their status prior to the [EO]

including by restoring all USAGM employees and personal service contractors, who were placed

on leave or terminated, to their status prior to March 14, 2025.” 2025 WL 1166400, at *18

(emphasis added). Provision 2 of that PI, concerning grants, directed USAGM in pertinent part to

“restore the [fiscal year] 2025 grants with USAGM Networks Radio Free Asia and Middle East

Broadcasting Networks.” Id. (emphasis added). And Provision 3 ordered USAGM to “restore

VOA programming” to “fulfill[] its statutory mandate.’” Id.

       The District Court also that day granted a PI in Abramowitz. 2025 WL 1176796, at *1.

The court reasoned that the Widakuswara PI “encompasses” the relief requested in Abramowitz,

but granted a separate PI in Abramowitz so that the cases could be considered together on appeal.

Id. at *2. Soon after, the District Court granted PIs in MBN and RFA that provided those plaintiffs

with relief identical to Provision 2 of the Widakuswara PI concerning grants. MBN, (Apr. 25,

2025) (Doc. 23); RFA, (Apr. 25, 2025) (Doc. 25).

       On appeal, in Widakuswara (D.C. Cir. No. 25-5144) and Abramowitz (D.C. Cir. No. 25-

5145), the Government moved for stays pending appeal of Provisions 1 and 2 (not Provision 3) of

the Widakuswara PI. In MBN (D.C. Cir. No. 25-5150) and RFA (D.C. Cir. No. 25-5151), the

Government also moved for stays pending appeal of the PIs. A divided motions panel granted the




1176796 (D.D.C. Apr. 22, 2025), plaintiffs include Michael Abramowitz, in his official capacity
as VOA’s director. MBN and RFA each brought their own suits, Middle East Broadcasting
Networks, Inc. v. United States, No. 25-cv-966 (D.D.C.), and Radio Free Asia v. United States, No.
25-cv-907 (D.D.C.).

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Government’s stay motions and ordered a stay of Provisions 1 and 2 of the Widakuswara PI and a

stay of the MBN and RFA PI. No. 25-5144, 2025 WL 1288817 (D.C. Cir. May 3, 2025).

         The Court of Appeals, en banc, by a divided vote on May 7, 2025 administratively stayed

the motions panel’s stay as to Provision 2, concerning grants. Middle E. Broad. Networks, Inc. v.

United States, No. 25-5150, 2025 WL 1378735 (D.C. Cir. May 7, 2025) (en banc). The en banc

Court also administratively stayed the MBN and RFA PIs (which, again, echoed Provision 2 of the

Widakuswara PI). Id. The en banc Court did not modify the motions panel’s stay as to Provision

1 concerning status restoration of employees and personal services contractors. See id.

         The en banc Court subsequently denied the Widakuswara and Abramowitz plaintiffs’

motion for relief from the motions panel’s stay of Provision 1 of the Widakuswara PI. 2025 WL

1556440 (D.C. Cir. May 22, 2025) (en banc). The en banc Court went on to grant, by a divided

vote, MBN and RFA’s motion for relief from the motions panel’s stay on the MBN and RFA PIs.

2025 WL 1521355, at *1 (D.C. Cir. May 28, 2025) (en banc). The en banc Court also denied the

Widakuswara plaintiffs relief as to Provision 2 of the Widakuswara PI, concluding that “their

claims of irreparable injuries arising from the . . . stay[ of] provision (2) [were] entirely derivative”

of RFA’s claims. Id. at *2. (Further, the en banc Court dissolved the administrative stays.)

         To sum up: The RFA and MBN PIs concerning grants remain in effect. But the motions

panel’s stay as to Provision 1 of the Widakuswara PI—concerning status restoration of employees

and personal services contractors—remains in effect.

                                                ARGUMENT
    I.      The Continued Stay Of The Employee And Personal Services Contractor
            Provision Of The Widakuswara PI Supports Defendants’ Arguments As To
            USAID Employees And Personal Services Contractors

         The Widakusawara PI provision requiring USAGM to restore its federal employees and

personal services contractors is stayed under the D.C. Circuit motions panel decision of May 3,

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2025. The motions panel’s rationale for the stay of that provision reinforces the arguments

Defendants have advanced that the AFSA Plaintiffs’ employment-based claims, and the PSCA

Plaintiff’s service contract-based claims, must be channeled through the pertinent procedures: As

to federal employees, those procedures are set by the Civil Service Reform Act of 1978 (“CSRA”),

the Federal Service Labor-Management Relations Act (“FSL-MRS”), and the Foreign Service Act

(“FSA”); as to personal service contractors, those procedures are set by the Contract Disputes Act

of 1978 (“CDA”). Defs. Mem. 18-27 (AFSA Doc. 70-1); Defs. Reply 3-7 (AFSA Doc. 83); Defs.

Mem. 8-15 (PSCA Doc. 45).

        In light of the statutory schemes providing “exclusive procedures by which” federal

employees and personal services contractors “may pursue employment related claims,” the APA is

not available to remedy alleged adverse personnel decisions, including systemwide challenges to

agency policies that implicate large-scale personnel matters.       See Widakuswara, 2025 WL

1288817, at *2. The motions panel’s stay of the interim relief the District Court devised as to the

employment- and personal service contract-related claims in Widakuswara supports the

Government’s similar arguments here—namely, that the employment- and personal service

contract-related relief AFSA and PSCA Plaintiffs seek is unavailable from this Court. Those claims

must be channeled through the appropriate administrative bodies statutorily established for such

disputes. Compare AFSA Pls.’ Prp. Order, Doc. 51-25 at 2-3, and PSCA Pls.’ Prp. Order, Doc.

39-26 at Item (e), with PI Order, Widakuswara, 2025 WL 1166400, at *1 (D.D.C. Apr. 22, 2025)

(ordering USAGM to reinstate and rehire all employees and personal service contractors to their

pre-litigation status).

        This Court may rely on the Widakuswara motions panel’s grant of the stay as to the

employment- and personal service contract-based claims as a persuasive authority confirming the



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validity of Defendants’ arguments. This Court need not decide whether the pertinent portion of

the motions panel decision is a precedent. The motions panel did not designate its decision for

publication as precedent. Cf. D.C. Circuit Handbook of Practice and Internal Procedures 43

(2024) (issuance of “unpublished disposition means that the Court sees no precedential value in

that disposition. See D.C. Cir. Rule 36(e)(2).”). There is no need for this Court to go further, given

that Defendants have identified all of the pertinent pre-Widakuswara precedents in their briefing.

   II.      The En Banc Court’s Stay Denial Does Not Preclude This Court From Ruling
            For Defendants On Any Grant-Based Claims, Which Plaintiffs Here Lack
            Standing To Raise In Any Event

         The denial of the stay of the Widakuswara PI “is not a decision on the merits of the

underlying legal issues,” and hence is not a binding precedent on the subject-matter jurisdiction

argument that the Government has raised insofar as the Court reaches any grants-based claims in

light of the Tucker Act. See Ind. State Police Pension Tr. v. Chrysler LLC, 556 U.S. 960, 960

(2009). Hence, the en banc Court’s denial of the Government’s stay motions, not designated for

publication as D.C. Circuit precedent, is not a binding precedent requiring rejection of the

Government’s challenge to subject-matter jurisdiction over the Plaintiffs’ efforts to seek grant-

related relief in PSCA and AFSA.

         It bears emphasis at the outset that although AFSA and PSCA Plaintiffs via their proposed

orders attempt to seek injunctive relief concerning USAID grants, none of them has Article III or

third-party standing to seek such relief, because none of them is a USAID grantee. Oxfam lacks

Article III or third-party standing as to USAID funding instruments, including grants. Defs. Mem.

29-31 (AFSA Doc. 70-1). Indeed, AFSA Plaintiffs today highlight Oxfam’s lack of any grants

from USAID (indicating lack of standing to litigate the disposition of such grants) as a purported

reason Oxfam may seek injunctive relief to restore agency “expertise and logistical assistance”



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Oxfam “relies on.” Supp. Br. 8-9 (AFSA Doc. 88). For its part, PSCA shares that deficiency:

PSCA is not itself a USAID contractor; rather, it is the members of PSCA that receive funding

through their personal service contracts (which are distinct from grants). See Defs. PI Opp. 15-17

(PSCA Doc. 45).

       In any event—even apart from the Article III and third-party standing problems that would

preclude affording grant-related relief in AFSA and PSCA—any grant-related claims seeking

monetary relief properly proceed under the Tucker Act. Widakuswara does not require otherwise.

Although the en banc Court did examine the Government’s “likelihood of success on the merits”

as to the argument that the District Court lacked subject-matter jurisdiction over the grant-

restoration claims in Widakuswara in light of the Tucker Act, the en banc Court clarified that its

stay assessment “does not constrain the ability” of the merits panel subsequently “to reach any

conclusion following full merits briefing and argument.” 2025 WL 1521355, at *1. 3

       In that regard, the Government’s subject-matter jurisdiction arguments in AFSA and PSCA

are different from those in Widakuswara. The AFSA and PSCA suits concern underlying statutes

authorizing foreign assistance programs that generally authorize the Executive Branch to provide

foreign assistance through particular programs, but that do not generally require the provision of

specific funds to specific recipients. To the contrary, Congress has generally provided that the

President and the Secretary of State have significant latitude to determine how best to provide

foreign assistance to ensure that those programs best achieve foreign aid goals and align with the


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         Additionally, the en banc Court reasoned that denial of the stays was warranted regardless
“whether the government ultimately prevails[,]” because the grantee networks’ fact-intensive
irreparable harm showing made “it unlikely that they could recover” absent a stay. Id. But in
AFSA and PSCA the irreparable harm assertions are based on different facts particular to these
suits, and as this Court concluded earlier in each suit, Plaintiffs did not demonstrate irreparable
harm—let alone harm sufficient to overcome their deficiencies as to success on the merits. AFSA,
2025 WL 573762, at *3-7 (D.D.C. Feb. 21, 2025); PSCA, Tr. Mar. 6 at 7:1-11:6.

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President’s foreign policy. See, e.g., 22 U.S.C. §§ 2382(c), 2395(a). And for many specific

programs, Congress has expressly given the President discretion to provide assistance on such

terms and conditions as the President determines. Moreover, the appropriations statute in many

instances simply provides that Congress is appropriating large undifferentiated sums for various

activities, such as “to carry out” specified provisions of the Foreign Assistance Act, 138 Stat. at

742, or “to meet refugee and migration needs,” 138 Stat. at 744. And even where Congress

included more specific directions in the appropriations statute, those directions often restrict the

manner in which, or the purposes for which, the funds could be spent. See, e.g., 138 Stat. at 740-

41, 742. In general, they do not provide affirmative, unequivocal commands to provide specific

funds on a specific timetable for specific recipients. So, contrary to PSCA’s analogy to Provision

3 of the Widakuswara PI, there is no equivalent “statutory mandate” concerning grants that the

Court could order USAID to “fulfill[].” Supp. Br. 12-13 (PSCA Doc. 50).

       The authorizing provisions of the IBA and the corresponding appropriations provisions (on

which the circuit judge who dissented from the motions panel opinion in Widakuswara relied) are

not akin to those from which these suits arise. See 2025 WL 1288817, at *11 (Pillard, J.,

dissenting) (relevant statutes both established entity plaintiffs and “required allocation of funds to

those specific, named entities”). Plaintiffs in AFSA and PSCA cannot contend that the text of any

authorizing or appropriations statute requires that they receive federal funds. It is only USAID’s

choices that result in such receipt of funds by grantees (which, again, do not include Plaintiffs

here). Indeed, in AFSA, not even Oxfam—the Plaintiff added to that action with an alleged interest

in the termination of USAID grants and related contracts—has contended that it directly receives

federal funds from any Defendant. Defs. Mem. 29-31 (AFSA Doc. 70-1). And neither the Foreign




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Assistance Act nor the FCAA directs USAID to make particular payments to any of the Plaintiffs

in AFSA or PSCA. Defs. Mem. 3-6 (AFSA Doc. 70-1); Defs. PI Opp. 2-4 (PSCA Doc. 45).

        Hence, in light of the Tucker Act, insofar as the AFSA or PSCA plaintiffs seek restoration

of foreign-assistance grants, they must bring those claims under the terms of those grants. Defs.

PI Opp. 8-15 (PSCA Doc. 45). Notably, Plaintiffs in both suits explicitly invoke contracts or grants

as a basis for monetary relief: The AFSA Plaintiffs seek an order directing USAID to “pay[] all

due or overdue invoices in connection with any” funding agreement. Prp. Order at 2 (AFSA Doc.

51-25). And the PSCA Plaintiff demands an order that Defendants “[a]pportion to USAID the full

amount of funds . . . so that USAID can obligate those funds for[] . . . contracts, grants, awards,

and projects . . . .” PI Mot., Item 1(c) (PSCA Doc. 39). So the APA review they seek is unavailable

to provide them an order “‘to enforce a contractual obligation to pay money . . . . ’” Dep’t of Educ.

v. California, 145 S. Ct. 966, 968 (2025) (per curiam) (quoting Great-West Life & Annuity Ins. Co.

v. Knudson, 534 U.S. 204, 212 (2002)).

        Moreover, although the Government will make merits arguments in due course in

Widakuswara, the en banc Court perceived the Government as lacking arguments on the merits of

the grant decisions for purposes of the stay motion. 2025 WL 1521355, at *1. Yet here, Defendants

in AFSA and PSCA have raised numerous alternative arguments why Plaintiffs’ grant-based claims

fail on the merits.

                                  *       *      *       *        *

        The interim disposition in Widakuswara reinforces Defendants’ contentions as to the

employment- and personal services contract-based claims here, and does not undermine

Defendants’ contentions as to the grant-based claims here. Hence, for the reasons Defendants

stated, the Court should dismiss the AFSA amended complaint, or grant summary judgment to

Defendants while denying it to Plaintiffs. And the Court should deny the PI in PSCA.

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Dated: June 6, 2025                    Respectfully submitted,
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